     Case
      Case5:20-cv-00128
           5:20-cv-00128 Document
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                                                                  Page11ofof11
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             August 13, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                 LAREDO DIVISION


Texas Alliance for Retired Americans, Sylvia
Bruni, DSCC, and DCCC,

                      Plaintiffs,                       Civil Action No. 5:20-cv-128

       v.

RUTH HUGHS, in her official capacity as the
Texas Secretary of State,

                      Defendant.


                                            ORDER

       After considering Plaintiffs’ Motion for Leave to Exceed Page Limit, the Court:

       GRANTS the motion. Plaintiffs may file a memorandum of law in support of a motion

for preliminary injunction that contains no more than 34 pages, excluding the caption, table of

contents, table of authorities, signature block, certificates, and accompanying documents.


       It is so ORDERED.

       DATED: August 13, 2020

       SIGNED:                                      ____________________________________
                                                    United States District Judge
